                                                                               IT IS HEREBY ADJUDGED and
                                                                               DECREED this is SO ORDERED.
                                                                               The party obtaining this order is responsible
                                                                               for noticing it pursuant to Local Rule 9022-1.

                                                                               Dated: September 19, 2013
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                                                                               Randolph J. Haines, Chief Bankruptcy Judge
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 9                                     UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF ARIZONA
10
     In re:                                                           Case No. 2:13-BK-16126 (RJH)
11
     ELECTRIC TRANSPORTATION ENGINEERING                              Chapter 11
12   CORPORATION (d/b/a ECOTALITY NORTH
     AMERICA), et al.,1                                               Jointly Administered
13
              Debtors.                                                ORDER (A) APPROVING BIDDING
14                                                                    PROCEDURES IN CONNECTION WITH
                                                                      THE SALE OF SUBSTANTIALLY ALL OF
15                                                                    THE DEBTORS’ ASSETS,
                                                                      (B) SCHEDULING SALE HEARING,
16                                                                    (C) APPROVING THE FORM AND
     This filing applies to:                                          MANNER OF THE SALE, AUCTION, AND
17                                                                    SALE HEARING, AND (D) GRANTING
               All Debtors                                           RELATED RELIEF
18
               Specified Debtors
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              Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession
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     (collectively, the “Debtors”) seeking entry of an order (this “Order”) (i) approving procedures (the
22
     “Bidding Procedures”) for (a) submitting bids for the purchase of the Assets, and (b) conducting an
23
     auction for the Assets (the “Auction”); (ii) authorizing, but not requiring, the Debtors to (a) enter into a
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     “stalking horse” agreement with one or more bidders (the “Stalking Horse Bidder(s)”) for the purpose
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26            1
                The Debtors in these jointly administered chapter 11 cases and the last four digits of their respective Employer
     Identification Numbers are: (i) ECOtality, Inc. (5422); (ii) Electric Transportation Engineering Corporation (4755);
27   (iii) ECOtality Stores, Inc. (2643); (iv) ETEC North, LLC (n/a); (v) The Clarity Group, Inc. (8832); and (vi) G.H.V.
     Refrigeration, Inc. (4512). The Debtors’ service address at ECOtality, Inc.’s corporate headquarters is Post Montgomery
28   Center, One Montgomery Street, Suite 2525, San Francisco, California 94104.


     Case 2:13-bk-16126-MCW               Doc 56 Filed 09/19/13
                                                         1       Entered 09/19/13 16:49:33                                Desc
                                          Main Document    Page 1 of 26
 1   of establishing a minimum acceptable bid(s) for the Assets (the “Stalking Horse Bid(s)”), (b) provide

 2   any Stalking Horse Bidder(s) with a break-up fee in the event that such Stalking Horse Bidder(s) is not

 3   the successful bidder for the Assets (the “Successful Bidder(s)”) in an amount not to exceed two

 4   percent (2%) of the guaranteed cash purchase price proposed in the Stalking Horse Bid in accordance

 5   with the terms of the Bidding Procedures, and (c) reimburse any Stalking Horse Bidder(s) for

 6   reasonable and actual costs and expenses incurred by such Stalking Horse Bidder(s) in connection with

 7   its bid(s) in an amount not to exceed $25,000; (iii) approving procedures (the “Assumption and

 8   Assignment Procedures”) for the assumption and assignment of certain executory contracts (the

 9   “Assigned Contracts”) and unexpired leases (the “Assigned Leases”) in connection with the sale of the

10   Assets and resolution of any objections or requests for adequate assurance of future performance

11   related thereto; (iv) scheduling (a) a deadline to submit bids for the Assets, (b) the date and time of the

12   Auction, (c) the date and time of the hearing to consider approval of the proposed sale of the Assets to

13   the Successful Bidder(s) (the “Sale Hearing”), and (d) a deadline to consummate a sale of the Assets;

14   (v) approving the form and manner of notice of the deadline to submit bids for the Assets, the Auction

15   and the Sale Hearing; and (vi) granting certain related relief, all as more fully set forth in the Motion;2

16   and a hearing having been held to consider the relief requested in the Motion (the “Bidding Procedures

17   Hearing”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

18   and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that

19   this Court may enter a final order consistent with Article III of the United States Constitution; and this

20   Court having found that venue of this proceeding and the Motion in this district is proper pursuant to

21   28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in

22   the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

23   having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

24   appropriate and no other notice need be provided; and this Court having reviewed the Motion and

25   having heard the statements in support of the relief requested therein; and this Court having determined

26   that the legal and factual bases set forth in the record establish just cause for the relief granted herein;

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              All terms used but not defined herein shall have the meaning ascribed to them in the Motion, the Bidding
28   Procedures, or the First Day Declaration, as applicable.


     Case 2:13-bk-16126-MCW            Doc 56 Filed 09/19/13
                                                      2       Entered 09/19/13 16:49:33                   Desc
                                       Main Document    Page 2 of 26
 1   and upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

 2   appearing therefor,

 3           THE COURT HEREBY FINDS THAT:3

 4           1.       The Debtors have demonstrated that, under the circumstances described herein and in

 5   the Motion, there is a compelling and sound business justification for this Court to grant the relief

 6   requested in the Motion, including, without limitation, (i) approval of the Bidding Procedures,

 7   (ii) authorization to enter into a Stalking Horse Agreement(s) with a Stalking Horse Bidder(s),

 8   (iii) authorization to provide the Stalking Horse Protections, and (iv) approval of the Assignment and

 9   Assumption Procedures.

10           2.       The Bidding Procedures, substantially in the form attached hereto as Exhibit 1 and are

11   incorporated herein by reference as if fully set forth in this Order, are fair, reasonable and appropriate

12   and represent the best method for maximizing the value of the Debtors’ estates.

13           3.       Entry by the Debtors, in their sole discretion, into one or more Stalking Horse

14   Agreements is in the best interests of the Debtors’ estates and creditors and will provide a clear benefit

15   to the Debtors’ estates and creditors.

16           4.       The Stalking Horse Protections and the Overbid Increments are fair, reasonable and

17   appropriate and will provide a benefit to the Debtors’ estates and creditors.

18           5.       Payment by the Debtors of any portion of the Stalking Horse Protections, under the

19   conditions set forth in the Motion and in this Order, is (i) an actual and necessary cost of preserving the

20   Debtors’ estates, within the meaning of Bankruptcy Code section 503(b), (ii) of substantial benefit to

21   the Debtors’ estates and creditors and all parties in interest herein, (iii) a material inducement for the

22   Stalking Horse Bidder(s) to expend considerable time and resources pursuing the purchase of the

23   Assets, and (iv) reasonable and appropriate in view of the fact that, if the Stalking Horse Protections

24   are triggered, the efforts of the Stalking Horse Bidder(s) will have improved the ability of the Debtors

25   to receive the highest and otherwise best bid for the Assets.

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             3
               The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
27   pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent
     any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the
28   following conclusions of law constitute findings of fact, they are adopted as such.


     Case 2:13-bk-16126-MCW             Doc 56 Filed 09/19/13
                                                       3       Entered 09/19/13 16:49:33                       Desc
                                        Main Document    Page 3 of 26
 1          6.      The Sale Notice, substantially in the form attached to the Motion as Exhibit B and

 2   incorporated herein by reference as if fully set forth in this Order, is appropriate and reasonably

 3   calculated to provide all interested parties with timely and proper notice of the sale of the Assets, the

 4   Bidding Procedures, the Auction and the Sale Hearing, and no other or further notice is required.

 5          7.      The Cure Schedule, substantially in the form attached to the Motion as Exhibit C and

 6   incorporated herein by reference as if fully set forth in this Order, is appropriate and reasonably

 7   calculated to provide all interested parties with timely and proper notice of the assumption and

 8   assignment of the Assigned Contracts and the Assigned Leases in connection with the sale of the

 9   Assets and the related Cure Amount (as defined below), and no other or further notice is required.

10          8.      The Contract Assignment Notice, substantially in the form attached to the Motion as

11   Exhibit D and incorporated herein by reference as if fully set forth in this Order, is appropriate and

12   reasonably calculated to provide all interested parties with timely and proper notice of the assumption

13   and assignment of the Assigned Contracts and the Assigned Leases in connection with the sale of the

14   Assets and the related Cure Amount, and no other or further notice is required

15          IT IS HEREBY ORDERED that:

16          1.      The Motion is granted to the extent provided herein.

17          A.      The Bidding Procedures

18          2.      The Bidding Procedures are approved. The Debtors are authorized to take any and all

19   actions necessary or appropriate to implement the Bidding Procedures.

20          3.      As further described in the Bidding Procedures, any Potential Bidder wanting to

21   participate in the Auction must become a Qualified Bidder by submitting a Qualified Bid in writing to

22   Debtors, through their proposed counsel, Akin Gump Strauss Hauer & Feld LLP, Century Park East,

23   Suite 2400, Los Angeles, California 90067 (Attn: David P. Simonds and Arun Kurichety), and Parker

24   Schwartz, PLLC, 7310 N. 16th St., Suite 330, Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to

25   be actually received by the Debtors on or before October 7, 2013 at 5:00 p.m. (Pacific Time) (the

26   “Bid Deadline”), which deadline may be extended by the Debtors in consultation with the statutory

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     Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13
                                                   4       Entered 09/19/13 16:49:33               Desc
                                    Main Document    Page 4 of 26
 1   committee of unsecured creditors (the “Creditors’ Committee”) appointed in these chapter 11 cases, if

 2   any.4

 3           4.       If two or more Qualified Bids are received on or before the Bid Deadline, the Debtors

 4   shall conduct the Auction on October 8, 2013 at 10:00 a.m. (Mountain Standard Time), at the

 5   United States Bankruptcy Court for the District of Arizona, 230 North First Avenue, 6th Floor,

 6   Courtroom 603, Phoenix, Arizona 85003, or such other location as the Debtors may advise any parties

 7   entitled to attend the Auction upon two (2) business days’ notice, to determine the Successful Bid(s).

 8   The Auction may be adjourned or rescheduled without further notice by an announcement of the

 9   adjourned date at the Auction. The Debtors shall have the right to cancel the Auction if two or more

10   Qualified Bids are not received as of the Bid Deadline.

11           5.       The Sale Hearing shall be held on October 9, 2013 at 1:30 p.m. (Mountain Standard

12   Time) at the United States Bankruptcy Court for the District of Arizona, 230 North First Avenue, 6th

13   Floor, Courtroom 603, Phoenix, Arizona 85003, before the Honorable Randolph J. Haines, Chief

14   United States Bankruptcy Judge. The Sale Hearing may be adjourned or rescheduled without further

15   notice by an announcement of the adjourned date at the Sale Hearing.

16           6.       The Successful Bidder(s) shall be required to consummate the purchase of the Assets by

17   11:59 p.m. (Mountain Standard Time) on October 11, 2013, subject to extension by the Debtors in

18   their discretion.

19           B.       Purchase Agreement(s)

20           7.       The Debtors are authorized, but not required, in consultation with the Creditors’

21   Committee, if appointed, to enter into a Stalking Horse Agreement(s) with one or more Stalking Horse

22   Bidders on or before September 30, 2013. The Stalking Horse Agreement(s) shall be in such form and

23   contain terms and provisions as the Debtors deem appropriate in their business judgment, subject to the

24   limitations set forth in the Bidding Procedures regarding the Stalking Horse Protections. In the event

25   that the Debtors enter into one or more Stalking Horse Agreements, the Debtors shall (i) promptly file

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27           4
              Until there is a Qualified Bid (as defined below) for the Assets that is greater than $2.5 million, Nissan North
     America, Inc. (the “DIP Lender”) shall have the same consultation rights granted to the Creditors’ Committee in the
28   Bidding Procedures.


     Case 2:13-bk-16126-MCW              Doc 56 Filed 09/19/13
                                                        5       Entered 09/19/13 16:49:33                        Desc
                                         Main Document    Page 5 of 26
 1   a notice with the Court that includes a copy of any such agreement, and (ii) provide a copy of such

 2   agreement to any Potential Bidder upon request.

 3          8.      If the Debtors do not enter into one or more Stalking Horse Agreements, the Form APA,

 4   a copy of which is attached to the Motion as Exhibit E, is hereby approved.

 5          C.      Stalking Horse Protections

 6          9.      The Break-Up Fee, the Expense Reimbursement, and the Overbid Increments are

 7   approved and the Debtors are authorized to pay the Break-Up Fee and the Expense Reimbursement

 8   pursuant to the terms of the Bidding Procedures and the applicable Stalking Horse Agreement(s). For

 9   the avoidance of doubt, the Break-Up Fee and the Expense Reimbursement shall be payable solely

10   from the proceeds of a consummated sale, and only after all outstanding obligations under the DIP

11   Loan have been paid in full by the Debtors.

12          D.      Credit Bid

13          10.     The DIP Lender is hereby deemed a Potential Bidder in all respects, and shall have the

14   option to submit a credit bid for some or all of the Assets to the fullest extent permitted under

15   Bankruptcy Code section 363(k) (the “Credit Bid”). In the event that the DIP Lender chooses to

16   submit a Credit Bid as permitted by the Bidding Procedures, it shall be considered a Qualified Bidder

17   in all respects and afforded all rights associated therewith. The DIP Lender, as well as any transferee

18   of the DIP Loan, shall have the option to submit a Credit Bid at any time prior to the conclusion of the

19   Auction.

20          E.      Sale Notice Procedures

21          11.     The Sale Notice is approved. Within one (1) business day of entry of this Order, the

22   Debtors shall serve the Sale Notice by first class mail on: (i) the U.S. Trustee; (ii) counsel for the

23   Creditors’ Committee, if any is appointed; (iii) all known creditors of the Debtors; (iv) any entity

24   known or reasonably believed to have asserted a security interest in or lien against any of the Assets;

25   (v) all counterparties to Assigned Contracts and Assigned Leases; (vi) any entity that has expressed a

26   bona fide interest in acquiring the Assets; (vii) all taxing authorities having jurisdiction over any of the

27   Assets, including the Internal Revenue Service; (viii) the Securities and Exchange Commission; (ix)

28   the DOE; (x) the DOL; (xi) the United States Department of Justice; (xii) the United States Attorney’s


     Case 2:13-bk-16126-MCW          Doc 56 Filed 09/19/13
                                                    6       Entered 09/19/13 16:49:33                Desc
                                     Main Document    Page 6 of 26
 1   Office for the District of Arizona; (xiii) the Attorneys General in the States where the Assets are

 2   located; and (xiv) any party that has requested notice pursuant to Bankruptcy Rule 2002.

 3           12.      Within three (3) business days of entry of this Order, the Debtors shall publish a notice,

 4   in a form to be submitted to the Court (the “Publication Notice”), in the USA Today or such other

 5   publication(s) as the Debtors and their advisors deem appropriate under the circumstances. Such

 6   publication notice shall be sufficient and proper notice to any other interested parties whose identities

 7   are unknown to the Debtors.

 8           F.       Assumption and Assignment Notice Procedures

 9           13.      The Assumption and Assignment Procedures, as set forth in the Motion and

10   incorporated herein by reference as if fully set forth in this Order, are approved.

11           14.      The Cure Schedule is approved. By September 27, 2013, the Debtors shall file with the

12   Court and serve the Cure Schedule via overnight delivery on the non-Debtor counterparties to each of

13   the Potentially Assigned Contracts and Leases. The Cure Schedule shall indicate whether the Debtors’

14   books and records show any amounts due under each of the Potentially Assigned Contracts and Leases

15   that must be cured in accordance with Bankruptcy Code sections 365(b) and (f)(2) (the “Cure

16   Amount”) prior to the assumption and assignment of such Potentially Assigned Contracts and Leases.

17   To the extent that any non-Debtor counterparty to any of the Potentially Assigned Contracts and

18   Leases wishes to object or request adequate assurance of future performance, such party should do so

19   in accordance with the procedures set forth below.5

20           15.      The Contract Assignment Notice is approved. No later than October 10, 2013, the

21   Debtors shall file the Contract Assignment Notice with the Court and serve such Contract Assignment

22   Notice via overnight delivery on the non-Debtor counterparties to such Assigned Contracts and

23   Assigned Leases. The Contract Assignment Notice shall include (i) the title of the Assigned Contract

24   or Assigned Lease to be assumed and assigned, (ii) the name of the non-Debtor counterparty to such

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26           5
                For the avoidance of doubt, each of the Potentially Assigned Contracts and Leases included by the Debtors on
     the Cure Notice is included solely for purposes of providing notice that such Potentially Assigned Contracts and Leases
27   may be assumed and assigned to the Successful Bidder(s). Inclusion of the Potentially Assigned Contracts and Leases on
     the Cure Notice will in no way bind the Debtors or the Successful Bidder(s) and all of the Debtors’ rights to reject any of
28   the Potentially Assigned Contracts and Leases are expressly reserved.


     Case 2:13-bk-16126-MCW               Doc 56 Filed 09/19/13
                                                         7       Entered 09/19/13 16:49:33                         Desc
                                          Main Document    Page 7 of 26
 1   Assigned Contract or Assigned Lease, (iii) Cure Amounts, if any, (iv) the proposed effective date of the

 2   assignment, and (v) the identity of the Successful Bidder and a statement as to such Successful

 3   Bidder’s ability to perform the Debtors’ obligations under such Assigned Contract or Assigned Lease

 4          16.     Any objection to the assumption and assignment of any Assigned Contract or Assigned

 5   Lease identified on the Cure Notice, including any objection to the Cure Amount set forth on the Cure

 6   Notice or to the ability of the Successful Bidder to provide adequate assurance of future performance

 7   under such Assigned Contract or Assigned Lease, must (i) be in writing, (ii) set forth the basis for the

 8   objection as well as any cure amount that the objector asserts to be due (in all cases with appropriate

 9   documentation in support thereof), and (iii) be filed with the Clerk of the Court, United States

10   Bankruptcy Court for the District of Arizona, 230 North First Avenue, Suite 101, Phoenix, Arizona

11   85003 and be served on proposed counsel for the Debtors, Akin Gump Strauss Hauer & Feld LLP,

12   Century Park East, Suite 2400, Los Angeles, California 90067 (Attn: David P. Simonds and Arun

13   Kurichety), and Parker Schwartz, PLLC, 7310 N. 16th St., Suite 330, Phoenix, Arizona 85020 (Attn:

14   Jared G. Parker), so as to be actually received no later than October 7, 2013 at 5:00 p.m. (Pacific

15   Time) (the “Assignment and Cure Objection Deadline”).

16          17.     Any request for adequate assurance information regarding the Successful Bidder(s) (a

17   “Request for Adequate Assurance”) must be in writing and be served on proposed counsel for the

18   Debtors, Akin Gump Strauss Hauer & Feld LLP, Century Park East, Suite 2400, Los Angeles,

19   California 90067 (Attn: David P. Simonds and Arun Kurichety), and Parker Schwartz, PLLC, 7310 N.

20   16th St., Suite 330, Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to be actually received no

21   later than the Assignment and Cure Objection Deadline. Requests for Adequate Assurance must

22   include an email address, postal address and/or facsimile number to which a response to such request

23   will be sent. Upon receiving a Request for Adequate Assurance, the Debtors shall promptly after such

24   request, but in no event later than one (1) business day after the Debtors’ selection of the Successful

25   Bid(s), provide such party with any non-confidential information reasonably related to adequate

26   assurance by email, facsimile or overnight delivery.

27          18.     If no objection to the proposed assumption and assignment of an Assigned Contract or

28   Assigned Lease is timely received by the Assignment and Cure Objection Deadline, then the


     Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13
                                                   8       Entered 09/19/13 16:49:33              Desc
                                    Main Document    Page 8 of 26
 1   assumption and assignment is authorized and the respective Cure Amount set forth in the Cure Notice

 2   shall be binding upon the counterparty to the Assigned Contract or Assigned Lease for all purposes and

 3   will constitute a final determination of total Cure Amount required to be paid by the Debtors in

 4   connection with such assumption and assignment to the Successful Bidder.

 5          19.    To the extent that any entity does not timely object as set forth above, such entity shall

 6   be (i) forever barred from objecting to assumption and assignment of the Assigned Contracts and

 7   Assigned Leases identified on the Cure Notice, including asserting any additional cure payments or

 8   requesting additional adequate assurance of future performance, (ii) deemed to have consented to the

 9   applicable Cure Amount, if any, and to the assumption and assignment of the applicable Assigned

10   Contract or Assigned Lease, (iii) bound to such corresponding Cure Amount, if any, (iv) deemed to

11   have agreed that the Successful Bidder has provided adequate assurance of future performance within

12   the meaning of Bankruptcy Code section 365(b)(1)(C), (v) deemed to have agreed that all defaults

13   under the applicable Assigned Contract or Assigned Lease arising or continuing prior to the effective

14   date of the assignment have been cured as a result or precondition of the assignment, such that the

15   Successful Bidder or the Debtors shall have no liability or obligation with respect to any default

16   occurring or continuing prior to the assignment, and from and after the date of the assignment the

17   applicable Assigned Contract or Assigned Lease shall remain in full force and effect for the benefit of

18   the Successful Bidder and such entity in accordance with its terms, (vi) deemed to have waived any

19   right to terminate the applicable Assigned Contract or Assigned Lease or designate an early termination

20   date under the applicable Assigned Contract or Assigned Lease as a result of any default that occurred

21   and/or was continuing prior to the assignment date, and (vii) deemed to have agreed that the terms of

22   the Sale Order shall apply to the assumption and assignment of the applicable Assigned Contract or

23   Assigned Lease.

24          20.    If no objection to the proposed assumption and assignment of an Assigned Contract or

25   Assigned Lease is received by the Assignment and Cure Objection Deadline, counsel for the Debtors

26   may submit to the Court a certificate of no objection and a form of order (a “Certificate of No

27   Objection”) granting such assumption and assignment, and serve such Certificate of No Objection on

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     Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13
                                                   9       Entered 09/19/13 16:49:33              Desc
                                    Main Document    Page 9 of 26
 1   the counterparty to such Assigned Contract or Assigned Lease or seek such determination pursuant to

 2   the Sale Order.

 3           21.       If an objection is timely received and such objection cannot otherwise be resolved by

 4   the parties, the Court may hear such objection at the Sale Hearing or any later date set by the Court.6

 5   The pendency of a dispute relating to the Cure Amount will not prevent or delay the assumption and

 6   assignment of any Assigned Contract or Assigned Lease. If an objection is filed only with respect to

 7   the cure amount listed on the Cure Notice, the Debtors may file a Certificate of No Objection as to

 8   assumption and assignment only and the dispute with respect to the cure amount will be resolved

 9   consensually, if possible, or, if the parties are unable to resolve their dispute, before the Court. The

10   Debtors intend to cooperate with the counterparties to the Assigned Contracts and Assigned Leases to

11   be assumed and assigned by the Debtors to attempt to reconcile any difference in a particular Cure

12   Amount.

13           G.        Objection Procedures

14           22.       All other objections to approval of the sale of the Assets to the Successful Bidder(s)

15   shall must (i) be in writing; (ii) state with particularity the basis for the objection; and (iii) be filed with

16   the Clerk of the Court, United States Bankruptcy Court for the District of Arizona, 230 North First

17   Avenue, Suite 101, Phoenix, Arizona 85003 and be served on proposed counsel for the Debtors, Akin

18   Gump Strauss Hauer & Feld LLP, Century Park East, Suite 2400, Los Angeles, California 90067 (Attn:

19   David P. Simonds and Arun Kurichety), and Parker Schwartz, PLLC, 7310 N. 16th St., Suite 330,

20   Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to be actually received no later than October

21   7, 2013 at 5:00 p.m. (Pacific Time) (the “Objection Deadline”).

22           23.       Failure of any entity to file an objection on or before the Objection Deadline shall be

23   deemed to constitute consent to the sale of the Assets to the Successful Bidder(s) and other relief

24   requested in the Sale Motion, and be a bar to the assertion, at the Sale Hearing or thereafter, of any

25   objection to the Sale Motion, the Auction, the sale of the Assets, the assumption and assignment of

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27           6
               To the extent that any non-Debtor counterparty objects to the assumption and assignment of an Assigned
     Contract or Assigned Lease, the Debtors reserve all rights, in consultation with the Successful Bidder(s), to reject such
28   Assigned Contract or Assigned Lease, regardless of its prior designation as an Assigned Contract or Assigned Lease.


     Case 2:13-bk-16126-MCW             Doc 56 Filed 09/19/13
                                                       10     Entered 09/19/13 16:49:33                          Desc
                                        Main Document   Page 10 of 26
 1   Assigned Contracts and Assigned Leases to the Successful Bidder(s), or the Debtors’ consummation

 2   and performance of the terms of the asset purchase agreement entered into with the Successful

 3   Bidder(s), if authorized by the Court.

 4          H.      Department of Energy

 5          24.     DOE Interests. The provisions of this section shall apply notwithstanding any other

 6   provision of this Order and the Bidding Procedures approved therein. The Debtors are recipients or

 7   sub-recipients of certain financial assistance agreements from the United States (collectively, the

 8   “Assistance Agreements”), including without limitation: agreements numbered DE-EE0002194 and

 9   DE-EE0005501. Any real property, equipment or intellectual property acquired or developed by the

10   Debtors using, in whole or in part, funds reimbursed under the Assistance Agreements (Government

11   Funded Property) are subject to the United States’ interests under federal law and regulations,

12   including its interests as described in 10 C.F.R. §§ 600.321 and 600.325, the Bayh-Dole Act (35 U.S.C.

13   200 et seq.), and the “Patent Rights” provisions included in the Assistance Agreements pursuant to

14   these regulatory and statutory authorities.

15          25.     Novation Requirements. Any Stalking Horse Agreement(s) and Qualified Bid(s) must

16   identify which, if any, of the Assistance Agreements for which the bidder(s) intend to seek a novation.

17   The United States asserts that (i) if bidder(s), including the stalking horse bidder, intend to seek

18   novation, the Purchased Assets listed must include the Debtors’ interests in any Government Funded

19   Property and any other assets or property necessary to perform the corresponding Assistance

20   Agreement for which the bidder(s) intend to seek novation; (ii) in order to succeed to any of the

21   Debtors’ interests in continuing to perform the Assistance Agreements and thus to have potential access

22   to any remaining funds still reimbursable under the Assistance Agreements, the proposed purchaser,

23   upon approval of the sale by the Court, must obtain novation of the Assistance Agreements from the

24   United States; and (iii) the United States maintains all discretion in determining whether to grant or

25   deny a novation of any Assistance Agreement in accordance with federal law. The Debtors reserve all

26   rights with respect to the foregoing assertions. The novation process is independent of the bidding

27   process described in the Bidding Procedures, and will only formally commence following the Court’s

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     Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13
                                                   11     Entered 09/19/13 16:49:33              Desc
                                    Main Document   Page 11 of 26
 1   approval of any sale of all assets necessary to perform the project described in the Assistant

 2   Agreement(s) for which novation is sought.

 3          26.     Consent Requirement. The United States asserts that no Assistance Agreement, or any

 4   other agreement between any of the Debtors and the United States, may be assumed and/or assigned by

 5   the Debtors without consent of the United States. The Debtors reserve all rights with respect to the

 6   foregoing assertion.

 7          27.     Intellectual Property Rights. Any intellectual property developed by Debtors under

 8   other financial assistance agreements with the United States, or any intellectual property developed

 9   under other financial assistance agreements acquired by Debtors from third parties is subject to the any

10   interest of the United States’ under federal law and regulations. The “Patent Rights” provisions

11   generally provide, among other terms, that Debtors may retain the entire right, title, and interest to each

12   invention conceived or first actually reduced to practice in the performance of work under the

13   corresponding Assistance Agreement but that the United States will retain a nonexclusive,

14   nontransferable, irrevocable, paid-up license to practice or have practiced for or on behalf of the United

15   States the subject invention.

16          I.      Related Relief

17          28.     All objections to entry of this Order that have not been withdrawn, waived, or settled as

18   announced to the Court at the Bidding Procedures Hearing or by stipulation filed with the Court, and

19   all reservations of rights included in such objections, are overruled except as otherwise set forth herein.

20          29.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6004(d)

21   6006(g), 7062, 9014, or otherwise, the terms and conditions of this Order shall be immediately

22   effective and enforceable upon its entry.         The Debtors are not subject to any stay in the

23   implementation, enforcement or realization of the relief granted in this Order, and may, in their

24   discretion and without further delay, take any action and perform any act authorized under this Order.

25          30.     To the extent that this Order is inconsistent with any prior order or pleading with respect

26   to the Motion in these cases, the terms of this Order shall govern.

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     Case 2:13-bk-16126-MCW          Doc 56 Filed 09/19/13
                                                    12     Entered 09/19/13 16:49:33                 Desc
                                     Main Document   Page 12 of 26
 1          31.     This Court shall retain jurisdiction with respect to all matters related to or arising from

 2   the implementation or interpretation of this Order

 3                                  ** DATED AND SIGNED ABOVE **

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     Case 2:13-bk-16126-MCW        Doc 56 Filed 09/19/13
                                                  13     Entered 09/19/13 16:49:33                  Desc
                                   Main Document   Page 13 of 26
 1                                        Exhibit 1
 2                                    Bidding Procedures
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     Case 2:13-bk-16126-MCW   Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33   Desc
                              Main Document   Page 14 of 26
                                          BIDDING PROCEDURES

         Set forth below are the bidding procedures (the “Bidding Procedures”) to be employed in
connection with the sale of the Assets (as defined below) of ECOtality, Inc. and Electric
Transportation Engineering Corporation (d/b/a ECOtality North America) and certain of their
affiliates that are debtors and debtors in possession (collectively, the “Debtors”) in the jointly
administered cases under title 11 of the United States Code (the “Bankruptcy Code”) pending in
the United States Bankruptcy Court for the District of Arizona (the “Court”) (Case No. 2:13-BK-
16126 (RJH)). Pursuant to the Bidding Procedures, the Debtors shall solicit bids for the
purchase of the Assets, conduct an auction for the Assets (the “Auction”) if the Debtors receive
two or more Qualified Bids (as defined below), and thereafter seek entry of an order (the “Sale
Order”), after notice and a hearing (the “Sale Hearing”), authorizing and approving the sale of
the Assets to the Successful Bidder(s) (as defined below).

        On September 15, 2013, the Debtors filed with the Court the Debtors’ Motion for Entry
of (I) an Order (A) Approving Bidding Procedures in Connection with the Sale of Substantially
All of the Debtors’ Assets (B) Scheduling Sale Hearing, (C) Approving the Form and Manner of
the Sale, Auction, and Sale Hearing, and (D) Granting Related Relief, and (II) An Order
Approving the Sale of Substantially All of the Debtors’ Assets (the “Motion”).1 On September
[__], 2013, the Court entered an order approving the Bidding Procedures and scheduling
October 9, 2013 at 1:30 p.m. (Mountain Standard Time) as the date and time that the Sale
Hearing will be held.

                                                 Important Dates

•   September 27, 2013: Debtors to file and serve Cure Schedule

• September 30, 2013 (5:00 p.m. Pacific Time):                            Deadline to enter Stalking Horse
Agreement(s)

•   October 7, 2013 (5:00 p.m. Pacific Time): Deadline to submit a Qualified Bid

• October 7, 2013 (5:00 p.m. Pacific Time): Deadline to object to assignment of Assigned
Contracts and Assigned Leases

•   October 7, 2013: Deadline to file and serve objections to relief requested at the Sale Hearing

•   October 8, 2013 (10:00 a.m. Mountain Standard Time): Date of Auction

•   October 9, 2013: Announcement by Debtors of Successful Bidder(s) and Back-Up Bid

•   October 9, 2013 (1:30 p.m. Mountain Standard Time): Date of Sale Hearing



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        Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.




Case 2:13-bk-16126-MCW                Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                            Desc
                                      Main Document   Page 15 of 26
•   October 10, 2013: Deadline for Debtors to file and serve the Contract Assignment Notice

• October 11, 2013 (11:59 p.m. Mountain Standard Time): Deadline to consummate sale to
Successful Bidder(s)


         A.       Assets to be Sold

         The Debtors seek to sell substantially all of their assets, including all equipment,
machinery, inventory, supplies, real property, software, intellectual property, cash, and accounts
receivable (such assets, the “Assets”). Except as otherwise provided in definitive documentation
with respect to any sale of the Assets, all of the Debtors’ right, title, and interest in and to the
Assets shall be sold free and clear of all liens, claims, encumbrances, rights, remedies,
restrictions, pledges, interests, liabilities, charges, options, and contractual commitments of any
kind or nature whatsoever, whether arising before or after the date that the Debtors commenced
these chapter 11 cases, whether at law or in equity, in accordance with Bankruptcy Code section
363.2

         B.       Due Diligence

        Upon request, the Debtors will provide any interested party with a copy of these Bidding
Procedures, together with a copy of the Stalking Horse Agreement(s) (or the Form APA (as
defined below), if no Stalking Horse Bidder(s) is selected) (each, as defined below). Should any
interested party desire additional or further information, such interested party will be required to
execute a confidentiality agreement (each a “Confidentiality Agreement”) in form and substance
satisfactory to the Debtors in their business judgment and on terms that are not more favorable to
such interested party than the Confidentiality Agreement executed by the Stalking Horse
Bidder(s), if any. Upon execution of such Confidentiality Agreement, the respective interested
party will be deemed a “Potential Bidder” and will thereafter be afforded the opportunity to
conduct a due diligence investigation with respect to the Assets in the manner determined by the
Debtors, in their business judgment, to be reasonable and appropriate.

        Potential Bidders will be given access (through a virtual data room, site inspections or
otherwise) to various financial data and other relevant and confidential information. The Debtors
will designate an employee or other representative to coordinate all requests for additional
information or access from Potential Bidders. The Debtors may, in their business judgment,
coordinate due diligence investigations such that multiple Potential Bidders have simultaneous
access to due diligence materials and/or simultaneous attendance at management presentations or
site inspections. The Debtors shall not be obligated to furnish access to any such information to
any entity that does not execute a Confidentiality Agreement in form and substance satisfactory
to the Debtors in their business judgment. The Debtors shall not be obligated to furnish access to



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      Although the Debtors do not have any significant secured debt obligations, the DOE (as defined below) may
assert interests in, or with respect to, certain of the Debtors’ assets. The Debtors reserve their rights regarding the
character, validity, extent, avoidability, and enforceability of any such interests.



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Case 2:13-bk-16126-MCW               Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                             Desc
                                     Main Document   Page 16 of 26
any information of any kind whatsoever regarding the Assets after the Bid Deadline (as defined
below).

        In addition, in order to facilitate the preparation and submission of bids for the Assets, the
Debtors will file any Stalking Horse Agreement(s) (or the Form APA, if no Stalking Horse
Bidder is selected), and a form Sale Order, with the Court on or before September 30, 2013.
Upon request, the Debtors will provide copies of such documents to any Potential Bidder. The
use of uniform agreements will enable the Debtors and other parties in interest to easily compare
and contrast the differing terms of any bids that may be received. The Debtors have the right not
to consider any bid that does not conform to the form agreements. The Debtors shall provide an
opportunity, on expedited basis, for a dialogue between Potential Bidder(s) and the DOE to the
extent that either the Debtor, the DIP Lender (as defined below), or the Potential Bidder(s) at
issue determines that such dialogue is beneficial.

         C.          Bid Deadline

        Any Potential Bidder wanting to participate in the Auction must become a Qualified
Bidder (as defined below) by submitting a Qualified Bid (as defined below) in writing to (i) Akin
Gump Strauss Hauer & Feld LLP, Century Park East, Suite 2400, Los Angeles, California 90067
(Attn: David P. Simonds and Arun Kurichety), and Parker Schwartz, PLLC, 7310 N. 16th St.,
Suite 330, Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to be actually received by the
Debtors on or before October 7, 2013 at 5:00 p.m. (Pacific Time) (the “Bid Deadline”),
which deadline may be extended by the Debtors in consultation with the statutory committee of
unsecured creditors (the “Creditors’ Committee”)3 appointed in these chapter 11 cases, if any.
No bids submitted after the Bid Deadline shall be considered by the Debtors, unless the Debtors,
in their business judgment and in consultation with the Creditors’ Committee, if appointed,
determine that consideration of such a bid is appropriate under the circumstances.

         D.          Bid Requirements

       Only bids for the Assets that constitute “Qualified Bids” will be considered by the
Debtors. A “Qualified Bid” is an offer to purchase the Assets that, prior to the Bid Deadline:

               (i)         identifies in writing the Assets to be purchased and the consideration to be
                           paid for such Assets;

              (ii)         identifies in writing any proposed revisions to the Stalking Horse
                           Agreement(s), if any, or the form of asset purchase agreement provided by
                           the Debtors (the “Form APA”);




    3
      Until there is a Qualified Bid (as defined below) for the Assets that is greater than $2.5 million, Nissan North
America, Inc. (the “DIP Lender”) shall have the same consultation rights granted to the Creditors’ Committee
herein.



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Case 2:13-bk-16126-MCW              Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                             Desc
                                    Main Document   Page 17 of 26
           (iii)      identifies in writing the Potential Bidder and the officer(s) or authorized
                      agent(s) who will appear on behalf of such Potential Bidder at the
                      Auction, if any;

           (iv)       provides written and other evidence, satisfactory to the Debtors, in their
                      business judgment, in consultation with the Creditors’ Committee, if
                      appointed, of the Potential Bidder’s financial wherewithal and operational
                      ability to consummate the proposed transaction by no later than October
                      11, 2013;

            (v)       provides in writing that such offer is not subject to any due diligence or
                      financing contingency or further board or similar approval;

           (vi)       is accompanied by a good faith deposit (a “Good Faith Deposit”)
                      submitted to the Debtors on or before the Bid Deadline in a cash amount
                      equal to not less than five percent (5%) of the proposed purchase price;

          (vii)       identifies in writing any Assigned Contracts or Assigned Leases to be
                      assumed and assigned in connection with the proposed purchase of the
                      Assets, and provides evidence of the Potential Bidder’s ability to provide
                      adequate assurance of future performance (as provided for under
                      Bankruptcy Code section 365) under such Assigned Contracts and
                      Assigned Leases;

          (viii)      provides in writing that each offer is irrevocable until the later of (a)
                      consummation of a transaction involving any other Potential Bidder for
                      the same Assets, and (b) the first business day that is thirty (30) days after
                      the conclusion of the Sale Hearing;

           (ix)       includes a copy of a board resolution or similar document demonstrating
                      the authority of the Potential Bidder to submit an offer to purchase the
                      Assets specified on the terms proposed by such Potential Bidder;

            (x)       complies with all requirements of the Novation Requirements section in
                      the Bid Procedures Order; and

           (xi)       contains the form of Sale Order approving the proposed transaction that
                      the Potential Bidder would request the Debtors to submit to the Court.

       As soon as practicable after a Potential Bidder submits a bid, the Debtors, in consultation
with the Creditors’ Committee, if appointed, will determine whether such bid is a Qualified Bid
and will notify such Potential Bidder of such determination. The Debtors may, in their business
judgment, communicate with any Potential Bidder and may request any additional information
reasonably required in connection with the evaluation of such Potential Bidder or bid submitted
by such Potential Bidder. To the extent that the Debtors determine that a bid submitted by a
Potential Bidder is a Qualified Bid, such Potential Bidder shall then be deemed a
“Qualified Bidder” and be allowed to participate in the Auction in all respects. The Debtors
reserve the right, in their business judgment, to consider bids for the Assets that do not conform


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Case 2:13-bk-16126-MCW        Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                  Desc
                              Main Document   Page 18 of 26
to one or more of the aforementioned requirements, and, in consultation with the Creditors’
Committee, if appointed, may deem such bids to be Qualified Bids notwithstanding such
requirements. The Debtors also may consider bids that call for the purchase of the Assets on a
piecemeal basis, as well as bids for substantially all of the Assets, if the Debtors, in their business
judgment and in consultation with the Creditors’ Committee, if appointed, believe that such bids
will result in a value maximizing transaction. As promptly as practical under the circumstances
following a determination that a Qualified Bidder has submitted a Qualified Bid, the Debtors
shall forward any such Qualified Bid to the DOE, or in the event that there are no Qualified Bids,
inform the DOE that there are no Qualified Bids.

       E.      Stalking Horse Bid

       If the Debtors receive one or more Qualified Bids on or before September 30, 2013 at
5:00 p.m. (Pacific Time), the Debtors, in consultation with the Creditors’ Committee, if
appointed, may, but shall not be required to, enter into a “stalking horse” agreements (the
“Stalking Horse Agreement(s)”) with one or more Qualified Bidders (the “Stalking Horse
Bidder(s)”) for the purpose of establishing a minimum acceptable bid(s) for the assets subject to
the Stalking Horse Agreement(s) (the “Stalking Horse Bid(s)”). The Stalking Horse
Agreement(s) shall be in such form and contain terms and provisions as the Debtors deem
appropriate in their business judgment, subject to the limitations set forth in the Bidding
Procedures regarding the Stalking Horse Protections (as defined below). Any Stalking Horse
Bid shall be deemed a Qualified Bid for purposes of these Bidding Procedures. In the event that
the Debtors enter into a Stalking Horse Agreement, the Debtors shall (i) promptly file a notice
with the Court that includes a copy of any such agreement, and (ii) provide a copy of such
agreement to any Potential Bidder upon request.

       F.      Stalking Horse Protections

               1.      Break-Up Fee

        The Debtors may, in their business judgment, provide the Stalking Horse Bidder(s) with a
fee of up to two percent (2%) of the guaranteed cash purchase price proposed in the Stalking
Horse Bid (the “Break-Up Fee”); provided, that such Stalking Horse Bidder is not in breach
under the Stalking Horse Agreement or has not previously terminated such agreement. The
Break-Up Fee will be payable to a Stalking Horse Bidder only if the Debtors, at the Auction,
select as the Successful Bid(s) a Qualified Bid by a Qualified Bidder that is not the Stalking
Horse Bidder for the sale of Assets that are substantially all of the Assets subject of the Stalking
Horse Agreement and consummate the sale to such Successful Bidder(s) following approval by
the Court at the Sale Hearing. Further, the Break-Up Fee shall be payable solely from the
proceeds of a consummated sale, and only after all outstanding obligations under the Debtors’
debtor in possession financing facility (the “DIP Loan”) have been paid in full by the Debtors.

               2.      Expense Reimbursement

        The Debtors may, in their business judgment, reimburse the Stalking Horse Bidder(s) for
all reasonable and actual costs and expenses, in an amount up to $25,000, that were incurred by
each Stalking Horse Bidder in connection with its bid (the “Expense Reimbursement,” and



                                              5
Case 2:13-bk-16126-MCW          Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                   Desc
                                Main Document   Page 19 of 26
together with the Break-Up Fee, the “Stalking Horse Protections”); provided, that such Stalking
Horse Bidder is not in breach under the Stalking Horse Agreement or has not previously
terminated such agreement. The Expense Reimbursement will be payable to a Stalking Horse
Bidder (i) only if the Debtors, at the Auction, select as the Successful Bid(s) a Qualified Bid by a
Qualified Bidder that is not the Stalking Horse Bidder for the sale of Assets that are substantially
all of the Assets subject of the Stalking Horse Agreement and consummate the sale to such
Successful Bidder(s) following approval by the Court at the Sale Hearing, or (ii) if the Debtors
are unable to consummate the sale of the Assets pursuant to the Stalking Horse Agreement for
any reason other than breach or termination by the Stalking Horse Bidder. Further, the Expense
Reimbursement shall be payable solely from the proceeds of a consummated sale, and only after
all outstanding obligations under the Debtors’ DIP Loan have been paid in full by the Debtors.

       G.      Credit Bid

       The DIP Lender shall be deemed a Potential Bidder in all respects, and shall have the
option to submit a credit bid for some or all of the Assets to the fullest extent permitted under
Bankruptcy Code section 363(k) (the “Credit Bid”). In the event that the DIP Lender chooses to
submit a Credit Bid as permitted by these Bidding Procedures, it shall be considered a Qualified
Bidder in all respects and afforded all rights associated therewith. Notwithstanding the Bid
Deadline, the DIP Lender, as well as any transferee of the DIP Loan, shall have the option to
submit a Credit Bid at any time prior to the conclusion of the Auction.

       H.      Auction

        If two or more Qualified Bids are received on or before the Bid Deadline, the Debtors
shall conduct the Auction commencing on October 8, 2013 at 10:00 a.m. (Mountain Standard
Time), at the the United States Bankruptcy Court for the District of Arizona, 230 North First
Avenue, 6th Floor, Courtroom 603, Phoenix, Arizona 85003, or such other location as the
Debtors may advise any parties entitled to attend the Auction upon two (2) business days’ notice,
to determine the highest or otherwise best bid(s) for the Assets (the “Successful Bid(s)”). The
Auction may be adjourned or rescheduled without further notice by an announcement of the
adjourned date at the Auction. The Debtors reserve the right to cancel the Auction if two or
more Qualified Bids are not received as of the Bid Deadline.

       I.      Auction Procedures

        Only an entity that has submitted a Qualified Bid (a “Qualified Bidder”), the United
States Department of Energy (the “DOE”), the Office of the United States Trustee for the
District of Arizona (the “U.S. Trustee”), the Creditors’ Committee, if appointed, and each such
entity’s respective preferred advisors are eligible to participate in the Auction. All participants
shall appear in person or through a duly authorized representative. Prior to the Auction, the
Debtors, in consultation with the Creditors’ Committee, if appointed, shall select the Qualified
Bid that, in their business judgment, reflects the highest or otherwise best bid for the Assets as
the starting bid (the “Starting Auction Bid”), and shall advise all participants in the Auction of
the terms of the Starting Auction Bid. In the event that the only bids received by the Debtors are
for certain of the Assets, the Debtors reserve the right, in consultation with the Creditors’
Committee, if appointed, to designate any such Qualified Bids as the starting Auction Bids.


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Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                 Desc
                               Main Document   Page 20 of 26
Qualified Bidders may then submit bids that are better and higher than the Starting Auction Bid
in an initial increment amount equal to the amount of any Stalking Horse Protections plus
$250,000 and subsequent increments of at least $100,000 (collectively, the “Overbid
Increments”). The Debtors shall determine whether any Qualified Bid is the Successful Bid
pursuant to the “Determination of Successful Bid” section below.

       J.      Determination of Successful Bid and Notice Thereof

        On or before October 9, 2013, the Debtors, in consultation with the Creditors’
Committee, if appointed, shall review each Qualified Bid that has been submitted and determine,
in the Debtors’ business judgment and in consultation with the Creditors’ Committee, if
appointed, which Qualified Bid(s) is the highest and best and, therefore, the Successful Bid(s).
In making such determination, the Debtors, in consultation with the Creditors’ Committee, if
appointed, shall consider any factor that they deem relevant, including the purchase price, the
payment of any Break-Up Fee or Expense Reimbursement, any benefit to the Debtors’ estates
from any proposal to assume liabilities of the Debtors, and those factors affecting the speed and
certainty of consummating the sale of the Assets. The presentation of the Successful Bid(s) to
the Court for approval does not constitute the Debtors’ acceptance of such bid(s). The Debtors
will be deemed to have accepted the Successful Bid(s) only when such bid(s) has been approved
by the Court pursuant to a Sale Order and the sale of the Assets proposed in such bid has been
consummated.

        As soon as practicable following the determination of the Successful Bid(s), but no later
than October 9, 2013, the Debtors shall file a notice with the Court identifying the Qualified
Bidder(s) that submitted the Successful Bid(s) (the “Successful Bidder(s)”) and serve such
notice by telecopy, electronic mail transmission, or overnight delivery, upon the following
entities: (i) the U.S. Trustee; (ii) the DOE; (iii) the United States Department of Labor (the
“DOL”); (iv) counsel to the Creditors’ Committee, if appointed; (v) the parties listed on the
Consolidated List of Creditors Holding the 30 Largest Unsecured Claims; (vi) all Qualified
Bidders that have submitted a Qualified Bid; (vii) all non-Debtor counterparties to the Assigned
Contracts and Assigned Leases proposed to be assumed and assigned under the Successful
Bid(s); and (viii) any party that has requested notice pursuant to Bankruptcy Rule 2002.

       The Debtors may adjourn, continue, re-open, or terminate the Auction, subject to any
required approval of the Court, and reserve the right to adopt other and further rules and
procedures for the Auction that, in their business judgment and in consultation with the
Creditors’ Committee, if appointed, will better promote the goals of the Auction.

       K.      Back-Up Bid

        The Successful Bidder(s) shall be required to consummate the purchase of the Assets by
11:59 p.m (Mountain Standard Time) on October 11, 2013, subject to extension by the
Debtors in their business judgment. If the Successful Bidder(s) fails to timely consummate the
purchase of the Assets, or any part thereof, then the next highest or otherwise best Qualified Bid
(if any) (the “Back-up Bid”) may be designated by the Debtors, in consultation with the
Creditors’ Committee, if appointed, as the Successful Bid, and the Debtors shall be authorized,
but not required, to consummate the sale of the Assets to the Qualified Bidder that submitted the


                                            7
Case 2:13-bk-16126-MCW        Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                Desc
                              Main Document   Page 21 of 26
Back-Up Bid pursuant to the terms of such Back-Up Bid as soon as is commercially reasonable.
If the Successful Bidder(s) fails to consummate the purchase of the Assets because of a breach,
default or failure to perform on the part of such Successful Bidder(s), the Debtors reserve the
right to seek all available damages from such Successful Bidder(s).

       L.      Reservation of Rights

               1.      Determination of Successful Bid

         The Debtors reserve the right to (i) determine in their business judgment, in consultation
with the Creditors’ Committee, if appointed, whether any Qualified Bid is a Successful Bid, and
(ii) reject, at any time prior to entry of the Sale Order by the Court, without liability, any bid that
the Debtors, in their business judgment and in consultation with the Creditors’ Committee, if
appointed, determine to be (a) inadequate or insufficient, (b) not in conformity with the Bidding
Procedures, the Bankruptcy Code, or the Federal Rules of Bankruptcy Procedure, or (c) contrary
to the best interests of the Debtors and their estates.

       At or before the Sale Hearing, the Debtors may impose such other terms and conditions
on the sale of the Assets as the Debtors, in consultation with the Creditors’ Committee, if
appointed, may determine to be in the best interests of the Debtors and their estates.

               2.      Modification of Bidding Procedures

        The Debtors reserve the right to modify the Bidding Procedures, in consultation with the
Creditors’ Committee, if appointed, without the need for any further order of the Court,
including by (i) extending the deadlines set forth in the Bidding Procedures, (ii) adjourning the
Auction and the Sale Hearing, and (iii) withdrawing any Assets from the sale process at any time
prior to or during the Auction.

       M.      Disposition of Good Faith Deposits

        All Good Faith Deposits shall be held in a separate non-interest-bearing escrow account
for the benefit of the Debtors. As soon as practicable following the consummation of the sale of
the Assets, any Good Faith Deposit received from a Qualified Bidder who is not determined to
be the Successful Bidder shall be released from escrow and returned to such Qualified Bidder. If
the Successful Bidder fails to consummate the purchase of the Assets, or any part thereof,
because of a breach, default, or failure to perform on the part of such Successful Bidder, the
Debtors will not have any obligation to return the Good Faith Deposit deposited by such
Successful Bidder, and such Good Faith Deposit shall irrevocably become property of the
Debtors without affecting or reducing any of the Debtors’ other rights or claims against such
Successful Bidder. If a Successful Bidder fails to consummate the purchase of the Assets, or any
part thereof, because of a breach, default, or failure to perform on the part of the Debtors, the
Good Faith Deposit deposited by such Successful Bidder shall be returned to such Successful
Bidder. If a Successful Bidder consummates the purchase of the Assets, the Good Faith Deposit
deposited by such Successful Bidder shall be applied as a credit toward the purchase price paid
by such Successful Bidder.




                                              8
Case 2:13-bk-16126-MCW          Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                   Desc
                                Main Document   Page 22 of 26
        N.       As Is, Where Is

         The sale of the Assets shall be on an “as is, where is” basis and without representations or
warranties of any kind, nature, or description by the Debtors, their estates, or their agents or
representatives. Except as otherwise expressly provided in these Bidding Procedures, any
applicable Stalking Horse Agreement, or any applicable Asset Purchase Agreement, by
submitting a bid, each Potential Bidder that submits a bid shall be deemed to acknowledge and
represent that it (i) has had an opportunity to conduct any and all reasonable due diligence
regarding the Assets prior to making its bid, (ii) has relied solely upon its own independent
review, investigation and/or inspection of any documents and/or the Assets in making its bid, and
(iii) did not rely upon any written or oral statements, representations, promises, warranties, or
guaranties whatsoever, whether express, implied, by operation of law, or otherwise, regarding
the Assets, or the completeness of any information provided in connection therewith.

        O.       Assigned Contracts and Assigned Leases

        By September 27 2013, the Debtors will file with the Court a schedule, substantially in
the form attached to the Motion as Exhibit C, (the “Cure Schedule”) of each of the executory
contracts and unexpired leases that may be assumed and assigned to the Successful Bidder(s)
(the “Potentially Assigned Contracts and Leases”). The Cure Schedule, which will be served
via overnight delivery on the non-Debtor counterparties to each of the Potentially Assigned
Contracts and Leases, will indicate whether the Debtors’ books and records show any amounts
due under each of the Potentially Assigned Contracts and Leases that must be cured in
accordance with Bankruptcy Code sections 365(b) and (f)(2) (the “Cure Amount”) prior to the
assumption and assignment of such Potentially Assigned Contracts and Leases. To the extent
that any non-Debtor counterparty to any of the Potentially Assigned Contracts and Leases wishes
to object or request adequate assurance of future performance, such party should do so in
accordance with the procedures set forth below.4

        As soon as practicable after selecting the Successful Bidder(s), such Successful Bidder(s)
shall submit a schedule of the Potentially Assumed Contracts and Leases that it wishes to be
Assigned Contracts and Assigned Leases. However, by no later than October 10, 2013, the
Debtors will file a notice, substantially in the form attached to the Motion as Exhibit D (the
“Contract Assignment Notice”), with the Court and serve such Contract Assignment Notice via
overnight delivery on the non-Debtor counterparties to such Assigned Contracts and Assigned
Leases. The Contract Assignment Notice will include (i) the title of the Assigned Contract or
Assigned Lease to be assumed and assigned, (ii) the name of the non-Debtor counterparty to
such Assigned Contract or Assigned Lease, (iii) Cure Amounts, if any, (iv) the proposed
effective date of the assignment, and (v) the identity of the Successful Bidder and a statement as



    4
       For the avoidance of doubt, each of the Potentially Assigned Contracts and Leases included on the Cure
Schedule are included solely for purposes of providing notice that such Potentially Assigned Contracts and Leases
may be assumed and assigned to the Successful Bidder(s). Inclusion of the Potentially Assigned Contracts and
Leases on the Cure Schedule will in no way bind the Debtors or the Successful Bidder(s) and all rights to reject any
of the Potentially Assigned Contracts and Leases are expressly reserved.



                                                  9
Case 2:13-bk-16126-MCW              Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                           Desc
                                    Main Document   Page 23 of 26
to such Successful Bidder’s ability to perform the Debtors’ obligations under such Assigned
Contract or Assigned Lease.

         Any objection to the assumption and assignment of any Assigned Contract or Assigned
Lease identified on the Cure Schedule, including any objection to the Cure Amount set forth on
the Cure Schedule or to the ability of the Successful Bidder to provide adequate assurance of
future performance under such Assigned Contract or Assigned Lease, must (i) be in writing, (ii)
set forth the basis for the objection as well as any cure amount that the objector asserts to be due
(in all cases with appropriate documentation in support thereof), and (iii) be filed with the Clerk
of the Court, United States Bankruptcy Court for the District of Arizona, 230 North First
Avenue, Suite 101, Phoenix, Arizona 85003 and be served on proposed counsel for the Debtors,
Akin Gump Strauss Hauer & Feld LLP, Century Park East, Suite 2400, Los Angeles, California
90067 (Attn: David P. Simonds and Arun Kurichety), and Parker Schwartz, PLLC, 7310 N. 16th
St., Suite 330, Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to be actually received no
later than October 7, 2013 at 5:00 p.m. (Pacific Time) (the “Assignment and Cure Objection
Deadline”).

        Any request for adequate assurance information regarding the Successful Bidder(s) (a
“Request for Adequate Assurance”) must be in writing and be served on proposed counsel for
the Debtors, Akin Gump Strauss Hauer & Feld LLP, Century Park East, Suite 2400, Los
Angeles, California 90067 (Attn: David P. Simonds and Arun Kurichety), and Parker Schwartz,
PLLC, 7310 N. 16th St., Suite 330, Phoenix, Arizona 85020 (Attn: Jared G. Parker), so as to be
actually received no later than the Assignment and Cure Objection Deadline. Requests for
Adequate Assurance must include an email address, postal address and/or facsimile number to
which a response to such request will be sent. Upon receiving a Request for Adequate
Assurance, the Debtors shall promptly after such request, but in no event later than one (1)
business day after the Debtors’ selection of the Successful Bid(s), provide such party with any
non-confidential information reasonably related to adequate assurance by email, facsimile, or
overnight delivery.

        If no objection to the proposed assumption and assignment of an Assigned Contract or
Assigned Lease is timely received by the Assignment and Cure Objection Deadline, then the
assumption and assignment is authorized and the respective Cure Amount set forth in the Cure
Schedule shall be binding upon the counterparty to the Assigned Contract or Assigned Lease for
all purposes and will constitute a final determination of total Cure Amount required to be paid by
the Debtors in connection with such assumption and assignment to the Successful Bidder.

        To the extent that any entity does not timely object as set forth above, such entity shall be
(i) forever barred from objecting to assumption and assignment of the Assigned Contracts and
Assigned Leases identified on the Cure Schedule, including asserting any additional cure
payments or requesting additional adequate assurance of future performance, (ii) deemed to have
consented to the applicable Cure Amount, if any, and to the assumption and assignment of the
applicable Assigned Contract or Assigned Lease, (iii) bound to such corresponding Cure
Amount, if any, (iv) deemed to have agreed that the Successful Bidder has provided adequate
assurance of future performance within the meaning of Bankruptcy Code section 365(b)(1)(C),
(v) deemed to have agreed that all defaults under the applicable Assigned Contract or Assigned
Lease arising or continuing prior to the effective date of the assignment have been cured as a


                                           10
Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                  Desc
                               Main Document   Page 24 of 26
result or precondition of the assignment, such that the Successful Bidder or the Debtors shall
have no liability or obligation with respect to any default occurring or continuing prior to the
assignment, and from and after the date of the assignment the applicable Assigned Contract or
Assigned Lease shall remain in full force and effect for the benefit of the Successful Bidder and
such entity in accordance with its terms, (vi) deemed to have waived any right to terminate the
applicable Assigned Contract or Assigned Lease or designate an early termination date under the
applicable Assigned Contract or Assigned Lease as a result of any default that occurred and/or
was continuing prior to the assignment date, and (vii) deemed to have agreed that the terms of
the Sale Order shall apply to the assumption and assignment of the applicable Assigned Contract
or Assigned Lease.

       If no objection to the proposed assumption and assignment of an Assigned Contract or
Assigned Lease is received by the Assignment and Cure Objection Deadline, counsel for the
Debtors may submit to the Court a certificate of no objection and a form of order (a “Certificate
of No Objection”) granting such assumption and assignment, and serve such Certificate of No
Objection on the counterparty to such Assigned Contract or Assigned Lease.

        If an objection is timely received and such objection cannot otherwise be resolved by the
parties, the Court may hear such objection at the Sale Hearing or any later date set by the Court.5
The pendency of a dispute relating to the Cure Amount will not prevent or delay the assumption
and assignment of any Assigned Contract or Assigned Lease. If an objection is filed only with
respect to the cure amount listed on the Cure Schedule, the Debtors may file a Certificate of No
Objection as to assumption and assignment only and the dispute with respect to the cure amount
will be resolved consensually, if possible, or, if the parties are unable to resolve their dispute,
before the Court. The Debtors intend to cooperate with the counterparties to the Assigned
Contracts and Assigned Leases to be assumed and assigned by the Debtors to attempt to
reconcile any difference in a particular Cure Amount.

        P.       Sale Hearing

       The sale of the Assets and the Stalking Horse Agreement (or a modified APA related to
the Successful Bid(s)) shall be presented for authorization and approval by the Court at the Sale
Hearing, which is scheduled to be held on October 9, 2013 at 1:30 p.m. (Mountain Standard
Time) at the United States Bankruptcy Court for the District of Arizona, 230 North First
Avenue, 6th Floor, Courtroom 603, Phoenix, Arizona 85003, before the Honorable Randolph J.
Haines, Chief United States Bankruptcy Judge. The Sale Hearing may be adjourned or
rescheduled without further notice by an announcement of the adjourned date at the Sale
Hearing.




    5
      To the extent that any non-Debtor counterparty objects to the assumption and assignment of an Assigned
Contract or Assigned Lease, the Debtors reserve all rights, in consultation with the Successful Bidder(s), to reject
such Assigned Contract or Assigned Lease, regardless of its prior designation as an Assigned Contract or Assigned
Lease.



                                                11
Case 2:13-bk-16126-MCW              Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                           Desc
                                    Main Document   Page 25 of 26
       Q.      Jurisdiction

         The Court shall retain exclusive jurisdiction over any matter or dispute relating to the sale
of the Assets, the Bidding Procedures, Stalking Horse Agreement(s), if any, any applicable asset
purchase agreement, and any other matter that in any way relates to the foregoing. All entities
that submit a bid for the purchase of the Assets shall be deemed to have consented to the core
jurisdiction of, and venue in, the Court and to have waived any right to a jury trial in connection
with any disputes relating to the sale of the Assets, the Bidding Procedures, Stalking Horse
Agreements, any applicable Asset Purchase Agreement, and any other matter that in any way
relates to the foregoing.




                                           12
Case 2:13-bk-16126-MCW         Doc 56 Filed 09/19/13 Entered 09/19/13 16:49:33                   Desc
                               Main Document   Page 26 of 26
